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                                    UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                           TAMPA DIVISION
UNITED STATES OF AMERICA

v.                                                  Case No. 8:03-cr-152-T-30TBM

EDWARD A. HALLOCK
_____________________________________

                                                ORDER

          Pursuant to the Judgment (Dkt. #204) entered on January 29, 2004, in this cause,

Defendant EDWARD A. HALLOCK, has been ordered to report to the Bureau of Prisons

on September 26, 2005. Upon review and consideration of the Defendant’s Motion for

Release Pending Appeal (Dkt. #295), which this Court has ruled on, it is

          ORDERED AND ADJUDGED that Defendant EDWARD A. HALLOCK shall report

to the Bureau of Prisons on WEDNESDAY, JANUARY 4, 2006, or such other later date as

ordered by the Bureau of Prisons.

          DONE and ORDERED in Tampa, Florida on September 2, 2005.




Copies furnished to:
Counsel/Parties of Record
United States Marshal
United States Probation Office


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